                      UNITED  STATES Document:
                      Case: 24-8044  COURT OF41APPEALS
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                                                            Date THIRD   CIRCUIT
                                                                       12/12/2024

                                                      No. 24-8044

                           Atlas Data Privacy Corporation, et al   vs. Blackbaud Inc., et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:
 Atlas Privacy Corporation
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ____ Appellant(s)                     ____ Intervenor(s)

          ✔ Respondent(s)
         ____                               ____ Appellee(s)                      ____ Amicus Curiae

(Type or Print) CounseO’s Name Adam   R. Shaw
                                ________________________________________________________________
                                     ✔ Mr.
                                   ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (1)
Additional E-Mail Address (2)
Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: /s/ Adam R. Shaw

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
